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 1   HEATHER E. WILLIAMS, Bar #122664
     Federal Defender
 2   DAVID M. PORTER, Bar #127024
     Assistant Federal Defender
 3   Counsel Designated for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
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 8                                   UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         No. Cr. F 03-5453 LJO

12                      Plaintiff,                     UNOPPOSED REQUEST TO EXTEND
                                                       DEADLINE AND AMEND BRIEFING
13          v.                                         SCHEDULE; ORDER

14   EDISON ODISHO SHINO,
                                                       Judge: Honorable LAWRENCE J. O’NEILL
15                      Defendant.

16          Pursuant to Local Rule 144, the undersigned, Assistant Federal Defender David M. Porter,
17   hereby requests that the deadline to file a supplement to defendant’s pro se motion be extended to
18   February 13, 2015, and that the corresponding deadlines for government response and defense
19   reply be extended to February 20, 2015 and February 27, 2015, respectively. Counsel for the
20   government, Assistant U.S. Attorney Kathleen A. Servatius, graciously indicated that she has no
21   objection to the revised schedule.
22   Dated: February 6, 2015
23                                                       Respectfully submitted,
24                                                       HEATHER E. WILLIAMS
                                                         Federal Defender
25

26                                                       /s/ David M. Porter
                                                         DAVID M. PORTER
27                                                       Assistant Federal Defender
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 1                                               ORDER
 2          Pursuant to the unopposed request, and good cause appearing therefor, it is hereby ordered

 3   that the supplement to defendant’s pro se motion may be filed on or before February 13, 2015;

 4   the government’s response to supplement shall be filed on or before February 20, 2015; and, the

 5   defendant’s reply shall be filed on or before February 27, 2015.

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     IT IS SO ORDERED.
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 8      Dated:    February 9, 2015                         /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
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